                                Case 8:24-cv-00753-DLB Document 12-4 Filed 03/15/24 Page 1 of 1



                                                              IN THE UNITED STATES DISTRICT COURT
                                                                 FOR THE DISTRICT OF MARYLAND
              ALPHA PSI CHAPTER OF THETA CHI FRATERNITY, ET AL.

                                                                                        *
                     Plaintiff,
                                                                                        *
                                                                                                                     8:24-cv-00753-DLB
                     v.                                                                                   Case No.
                                                                                        *
              JAMES BOND, ET AL.,
                     Defendant.                                                         *

                                                     NOTICE OF FILING OF DOCUMENT UNDER SEAL
              Check one.
              X
                             Exhibit          4                   which is an attachment to
                                                                                                Defendants' Memorandum in
                             Opposition to Plaintiffs Motion for Temporary Restraining Order and Preliminary Injunction

                             will be electronically filed under seal within 24 hours of the filing of this Notice.



                                                                                    (title of document)

                             will be electronically filed under seal within 24 hours of the filing of this Notice.

                             I certify that at the same time I am filing this Notice, I will serve copies of the document
              identified above by electronic mail upon counsel of record upon the entry of a Stipulated Protective Order .
                                                                                                  /s/ Kathryn J. Bradley
              03/15/2024
              Date                                                                            Signature
                                                                                               Kathryn J. Bradley, 21242
                                                                                              Printed Name and Bar Number

                                                                                               200 St. Paul Pl., Balto., MD 21202
                                                                                              Address
                                                                                               kbradley@oag.state.md.us
                                                                                              Email Address
                                                                                               410-576-6449
                                                                                              Telephone Number
                                                                                               410-576-6437
                                                                                              Fax Number




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